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                            IN THE UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
 7                                                ******
                                                    Case No.: 1:11-CR-00352-1 LJO
 8   UNITED STATES OF AMERICA,

 9                  Plaintiff,
                                                      RESCINDING JUNE 19, 2017, ORDER FOR
10          v.                                        BOND EXONERATION

11   MARK BAGDASARIAN,

12                  Defendant.

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14          On June 19, 2017, the Court ordered that the substitute collateral, ostensibly filed in

15   September 28, 2015, in the amount of $2,000 be exonerated and returned to Mrs. Judith R.

16   Thoma. Although a "Notice of Filing Substitute Collateral" was filed by Mr. Bagdasarian's

17   counsel indicating a $2,000 cashier's check has been presented and paid to the Clerk's office

18   (Doc. 85), a thorough review of the Court's records indicate this substitute collateral was never

19   received by the Court. The June 19, 2017, order is, therefore, RESCINDED.

20   IT IS SO ORDERED.
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        Dated:     June 26, 2017                             /s/ Lawrence J. O’Neill _____
22                                                  UNITED STATES CHIEF DISTRICT JUDGE

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                                 RESCINDING JUNE 19, 2017, ORDER OF EXONERATION
                                         CASE NO.: 1:11-CR-00352-1 LJO
